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                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WASHINGTON

LAWRENCE DARREN MOLDER,                                 Case No. 2:18-CV-0257-TOR

                              Plaintiff,                CIVIL MINUTES
                   vs.
                                                        DATE:      8/5/2019
BNSF RAILWAY CO,
                                                        LOCATION: Telephonic
                             Defendant.
                                                        DISCOVERY CONFERENCE

                                     CHIEF JUDGE THOMAS O. RICE

Linda Hansen                                                                    Ronelle Corbey

Courtroom Deputy                Law Clerk                    Interpreter        Court Reporter

Nicholas D Thompson                                    Michael E Chait

Plaintiff’s Counsel                                    Defendant’s Counsel

  [ ] Open Court                           [ ] Chambers                              [ X ] Telephonic

 All parties present by telephone.

 The Court and counsel discussed plaintiff’s witness Brett Dirks, MD’s unavailability for trial testimony and
 the inability of counsel to agree on preservation testimony.


 Court Ruling: The Court directed Mr. Thompson to recontact Dr. Dirks and advise him that the Court will
 attempt to accommodate his schedule for testifying at trial and, if necessary, his testimony can be taken out
 of order.



CONVENED: 9:59 AM             ADJOURNED: 10:14 AM           TIME: 15 MINS     [ ] ORDER FORTHCOMING
